443 F.2d 371
    UNITED STATES of America, Plaintiff-Appellee,v.Thomas James PIPER, Jr., Defendant-Appellant.No. 30621 Summary Calendar.**Rule 18, 5th Cir.; See Isbell Enterprises, Incv.Citizens Casualty Co. of New York et al., 5th Cir. 1970, 431F.2d 409, Part I.
    United States Court of Appeals, Fifth Circuit.
    May 6, 1971.
    
      George H. McCleskey, Dallas, Tex., court appointed, for defendant-appellant.
      Seagal v. Wheatley, U.S. Atty., John G. Truelson, Asst. U.S. Atty., W.D. Tex., San Antonio, Tex., for plaintiff-appellee.
      Before THORNBERRY, MORGAN and CLARK, Circuit Judges.
      PER CURIAM:
    
    
      1
      Thomas James Piper, Jr. was charged with and convicted of possessing in violation of 26 U.S.C. 5861(d) and (i), and 5871, a firearm that was not identified by a serial number and that was not registered to him in the National Firearms Registration and Transfer Record.  In this appeal Piper argues that the provisions of the National Firearms Act violate the Self-Incrimination Clause of the Fifth Amendment.  Recently this argument was rejected as without merit by the Supreme Court in United States v. Freed et al., 401 U.S. 601, 91 S.Ct. 1112, 28 L.Ed.2d 356 (1971), an opinion that is determinative of the instant matter.  Accordingly, the judgment appealed from is affirmed.1
    
    
      2
      Affirmed.
    
    
      
        1
         See Coleman v. United States, 5th Cir. 1971, 441 F.2d 1132; United States v. Matthews, 5th Cir. 1971, 483 F.2d 715; United States v. Ramsey, 5th Cir. 1970, 429 F.2d 565
      
    
    